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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 Michael Irvin,
    Plaintiff

        v.                                              CIVIL ACTION NO. 4:23-CV-00131

 Marriott International, Inc.
 and Jane Doe,
    Defendants


                           PLAINTIFF’S NOTICE OF DISMISSAL

       Plaintiff Michael Irvin respectfully dismisses this action without prejudice pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i)

                                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on March 13, 2023, I filed the foregoing pleading using the Court’s electronic
filing system, and same was e-served on Defendant’s counsel of record, as follows:

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                                                      /s/ Levi G. McCathern, II
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